{¶ 1} Relator, Joseph Goff, has filed this original action seeking a writ of mandamus from this court ordering respondent, Industrial Commission of Ohio, to vacate its order granting a motion by relator's former employer, respondent Super Lube Inc., to terminate temporary total disability ("TTD") compensation because relator has voluntarily abandoned his employment.
  {¶ 2} Pursuant to Civ. R. 53(C) and Loc. R. 12(M) of the Tenth District Court of Appeals, we referred the matter to a magistrate, who has now rendered a decision, including findings of fact and conclusions of law (attached as Appendix A). The magistrate has recommended that this court issue the requested writ of mandamus. The employer has filed objections to the magistrate's decision, and the matter is now before this court for independent review.
  {¶ 3} Initially, we note that the employer's objections to the magistrate's decision represent the employer's first pleading filed in this court, as the employer did not file a brief before the magistrate. Consequently, the case is in a novel posture before the court. Perhaps because the employer did not file a companion brief to that filed by the commission before the magistrate, the employer now duplicates most of the arguments already set forth before the magistrate by the commission. These generally raise issues regarding relator's alleged abandonment of his employment with Super Lube due to alleged violations of Super Lube's written employee guidelines regarding ethical conduct, specifically handling of customer paperwork, employee time sheets, and use of company facilities to work on relator's personal vehicle.
  {¶ 4} The employer now represents its position that the conduct at issue constituted a voluntary abandonment of relator's position with Super Lube. We find that the magistrate has completely and definitively addressed these arguments, concluding that in most instances, the employer has mischaracterized inefficiency as dishonesty and has failed to substantiate allegations of theft against relator. There is nothing in the stipulated record or the employer's argument in support of objections that establishes error in the magistrate's analysis of the facts or application of the pertinent law.
  {¶ 5} We therefore find, following our independent review pursuant to Civ. R. 53, that the magistrate has properly determined the pertinent facts and applied the relevant law thereto. The employer's objections are overruled, and this court adopts the magistrate's decision as its own, including the findings of fact and conclusions of law contained therein. The requested writ of mandamus is granted, ordering the commission to vacate its staff hearing officer's order of *Page 62 
April 4, 2006, which grants Super Lube's December 13, 2005 motion to terminate TTD compensation, and to enter an order denying Super Lube's motion.
Writ granted.
TYACK, J., concurs.
SADLER, J., dissents.
DESHLER, J., retired, of the Tenth Appellate District, sitting by assignment.